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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

STEPHEN THAXTON and            *
PATRICIA THAXTON, individually *
and on behalf of all others    *
similarly situated,            *
                               *
           Plaintiffs,         *
                               *
        v.                     *                            1:20-CV-00941-ELR
                               *
COLLINS ASSET GROUP, LLC,      *
et al.,                        *
                               *
           Defendants.         *
                               *
                          _________

                                          ORDER
                                          _________

         On April 13, 2020, the Court stayed this case pending the outcome of a Show

Cause Order in a related case, Collins Asset Group, LLC v. Diversified Financing,

LLC et al., No. 7:20-CV-00942 (S.D.N.Y. Feb. 4, 2020). [Doc. 35]. As of July 9,

2020, the above-named related case has been transferred to the District Court for the

Northern District of Georgia and reassigned to the undersigned. [See Dkt. Nos. 290,

299].1


1
  The related case is now Collins Asset Group, LLC v. Diversified Financing, LLC et al., No. 1:20-
CV-02818-ELR (N.D. GA Jul. 6, 2020) (hereinafter, “Collins Action”). “Dkt. No.” will be used
to refer to filings in case number 1:20-CV-02818-ELR. “Doc.” refers to the docket entries in case
number 1:20-CV-00941-ELR.
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       On September 17, 2020, the interpleader plaintiff Collins Asset Group, LLC

and several interpleader defendants in the Collins Action filed a “Joint Motion to

Stay Interpleader Plaintiff’s Order to Show Cause for Interpleader Relief Pending

Settlement.” [See Dkt. No. 348]. 2 In that motion, the parties in the Collins Action

indicated that they had reached a settlement in principle that could result in the

dismissal of both this case as well as the related Collins Action. [Id.] Thus, the

parties requested that the Court stay the Collins Action for forty-five (45) days until

they finalize settlement discussions. [Id.] The Court granted the parties’ motion to

stay the Collins Action for forty-five (45) days and directed the interpleader plaintiff

to file an update as to the finalization of settlement by the end of the forty-five (45)

day period. [See Dkt. No. 349].

       The forty-five (45) day period has now ended without an update as to the

settlement. Therefore, the Court DIRECTS the Clerk to ADMINISTRATIVELY

CLOSE this case.3 The Parties shall file a stipulation of dismissal upon finalization

of the settlement documents. If settlement fails, the Parties should promptly move

to reopen the case.




2
  The interpleader defendants that joined in this motion included Plaintiffs Stephen Thaxton and
Patricia Thaxton. [See Dkt. No. 348].
3
   The Court notes that administrative closure will not prejudice the rights of any party to this
litigation. A party need only file a motion to reopen the case if they so choose.

                                               2
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SO ORDERED, this 5th day of November, 2020.



                                   ______________________
                                   Eleanor L. Ross
                                   United States District Judge
                                   Northern District of Georgia




                               3
